           Case:17-01058-EAG13 Doc#:139 Filed:06/08/22 Entered:06/09/22 00:31:55                                                                  Desc:
                              Imaged Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                                  District of Puerto Rico
In re:                                                                                                                 Case No. 17-01058-EAG
ANTONIO RAFAEL ROSA COLOM                                                                                              Chapter 13
BIBIAM LISETTE MALDONADO ROSA
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0104-3                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 06, 2022                                               Form ID: dt13                                                             Total Noticed: 30
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 08, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + ANTONIO RAFAEL ROSA COLOM, BIBIAM LISETTE MALDONADO ROSA, COND REGENCY PARK APT 1207, CALLE
                         CARAZO 155, GUAYNABO, PR 00971-7801
cr                     + EMPRESAS BERRIOS INC., C/O ISAYRA BAGUE DIAZ,ESQ., PMB 181 PO BOX 4952, CAGUAS, PR 00726-4952
cr                       FIRSTBANK PR, GODREAU & GONZALEZ LLC, PO BOX 9024176, SAN JUAN, PR 00902-4176
cr                       Planet Home Lending LLC, Servicer for Luna Resid, c/o Godreau & Gonzalez Law, PO Box 9024176, San Juan, PR 00902-4176
4427893                + ASOCIACION DE RESIDENTES, COND REGENCY PARK, 155 CALLE CARAZO, GUAYNABO, PR 00971-7825
4427896                + DTOP, Apartado 41243 Minillas Station, San Juan, PR 00940-1243
4427897                + FIRST BANK, DEPARTAMENTO DE HIPOTECAS, PO BOX 8318, SAN JUAN, PR 00910-0318
4455583                  FIRSTBANK MORTGAGE DIVISION (475), PO BOX 9146, SAN JUAN, PR 00908-0146
4427900                + ISLAND FINANCE, PO BOX 362589, SAN JUAN, PR 00936-2589
4427904                + POPULAR AUTO, PO BOX 15011, SAN JUAN, PR 00902-8511
4427906                + PR TELEPHONE COMPANY, PO BOX 70367, SAN JUAN, PR 00936-8367

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: hildaris.burgos@popular.com
                                                                                        Jun 06 2022 18:48:00      POPULAR AUTO, PO BOX 366818, SAN JUAN,
                                                                                                                  PR 00936-6818
4427894                   Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Jun 06 2022 18:55:04      BEST BUY, PO BOX 183195, COLUMBUS, OH
                                                                                                                  43218-3195
4427895                   Email/Text: notificacionesquiebras@dtop.pr.gov
                                                                                        Jun 06 2022 18:47:00      DTOP, PO BOX 41269 MINILLAS STATION,
                                                                                                                  SAN JUAN, PR 00940
4473231                   Email/Text: bankruptcy@hacienda.pr.gov
                                                                                        Jun 06 2022 18:48:00      DEPARTMENT OF TREASURY,
                                                                                                                  BANKRUPTCY SECTION 424 B, PO BOX
                                                                                                                  9024140, SAN JUAN, PR 00902-4140
4427901                + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Jun 06 2022 18:55:00      MACYS, PO BOX 183083, COLUMBUS, OH
                                                                                                                  43218
4597480                + Email/Text: arsfilling@gmail.com
                                                                                        Jun 06 2022 18:47:00      EASTERN AMERICA INSURANCE CO, PO
                                                                                                                  BOX 9023862, SAN JUAN PR 00902-3862
4427898                   Email/Text: fblegalcounseling@firstbankpr.com
                                                                                        Jun 06 2022 18:47:00      FIRST BANK, CONSUMER SERVICE
                                                                                                                  CENTER, BANKRUPTCY DIVISION -CODE
                                                                                                                  248, PO BOX 9146, SAN JUAN PR 00908-0146
4427899                + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Jun 06 2022 18:55:04      GORDONS CREDIT PLAN, PO BOX 6403,
                                                                                                                  SIOUX FALLS, SD 57117-6403
4427902                ^ MEBN
                                                                                        Jun 06 2022 18:42:58      MUEBLERIAS BERRIOS, PO BOX 674, Cidra,
                                                                                                                  PR 00739-0674
4427903                + Email/PDF: gecsedi@recoverycorp.com
                                                                                        Jun 06 2022 18:54:58      PAYPAL CREDIT SVC/SYNCB, PO BOX
                                                                                                                  960080, ORLANDO, FL 32896-0080
4433892                   Email/Text: hildaris.burgos@popular.com
           Case:17-01058-EAG13 Doc#:139 Filed:06/08/22 Entered:06/09/22 00:31:55                                                          Desc:
                              Imaged Certificate of Notice Page 2 of 4
District/off: 0104-3                                               User: admin                                                            Page 2 of 3
Date Rcvd: Jun 06, 2022                                            Form ID: dt13                                                        Total Noticed: 30
                                                                                   Jun 06 2022 18:48:00     POPULAR AUTO, BANKRUPTCY
                                                                                                            DEPARTMENT, PO BOX 366818, SAN JUAN
                                                                                                            PUERTO RICO 00936-6818
4471470                  Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                         Jun 06 2022 18:54:54               Portfolio Recovery Associates, LLC, POB 12914,
                                                                                                            Norfolk VA 23541
4427905               + Email/Text: bankruptcy@hacienda.pr.gov
                                                                                   Jun 06 2022 18:48:00     PR DEPARTMENT OF TREASURY,
                                                                                                            BANKRUPTCY 424 OFFICE, PO BOX 9024140,
                                                                                                            San Juan, PR 00902-4140
4466006                  Email/Text: bnc-quantum@quantum3group.com
                                                                                   Jun 06 2022 18:47:00     Quantum3 Group LLC as agent for, Sadino
                                                                                                            Funding LLC, PO Box 788, Kirkland, WA
                                                                                                            98083-0788
4427907               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                   Jun 06 2022 18:55:00     SEARS/CBNA, PO BOX 6282, SIOUX FALLS,
                                                                                                            SD 57117-6282
4427908               + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Jun 06 2022 18:54:54     SYNCHRONY BANK, PO BOX 960061,
                                                                                                            ORLANDO, FL 32896-0061
4427909               + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Jun 06 2022 18:54:54     SYNCHRONY BANK/JCP, PO BOX 960090,
                                                                                                            ORLANDO, FL 32896-0090
4427910               + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Jun 06 2022 18:54:58     TJX REWARD, PO BOX 530948, ATLANTA,
                                                                                                            GA 30353-0948
4427911               + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Jun 06 2022 18:54:58     WALMART SYNCHRONY BANK, PO BOX
                                                                                                            530927, ATLANTA, GA 30353-0927

TOTAL: 19


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
4427912         *+            WALMART/SYNCHRONY BANK, PO BOX 530927, ATLANTA, GA 30353-0927

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 08, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 6, 2022 at the address(es) listed below:
Name                             Email Address
EDGAR ALBERTO VEGA RIVERA
                       on behalf of Creditor POPULAR AUTO edvega@bppr.com edgar.vega@popular.com

JAIME RODRIGUEZ PEREZ
                                 on behalf of Debtor ANTONIO RAFAEL ROSA COLOM jrpcourtdocuments@gmail.com ezdocsjaimelawoffice@gmail.com,

JOSE RAMON CARRION MORALES
                       newecfmail@ch13-pr.com
        Case:17-01058-EAG13 Doc#:139 Filed:06/08/22 Entered:06/09/22 00:31:55                    Desc:
                           Imaged Certificate of Notice Page 3 of 4
District/off: 0104-3                                        User: admin                           Page 3 of 3
Date Rcvd: Jun 06, 2022                                     Form ID: dt13                       Total Noticed: 30
JOSE RAMON CARRION MORALES (LL)
                       on behalf of Trustee JOSE RAMON CARRION MORALES newecfmail@ch13-pr.com

MONSITA LECAROZ ARRIBAS
                            ustpregion21.hr.ecf@usdoj.gov

RAFAEL A GONZALEZ VALIENTE
                        on behalf of Creditor FIRSTBANK PR rgv@g-glawpr.com zi@g-glawpr.com


TOTAL: 6
     Case:17-01058-EAG13 Doc#:139 Filed:06/08/22 Entered:06/09/22 00:31:55                                                            Desc:
                        Imaged Certificate of Notice Page 4 of 4
                                   UNITED STATES BANKRUPTCY COURT
                                           District of Puerto Rico

In re:
ANTONIO RAFAEL ROSA COLOM                                        Case No. 17−01058 EAG
BIBIAM LISETTE MALDONADO ROSA                                    Chapter 13
xxx−xx−2585

xxx−xx−0370



                           Debtor(s)                                              FILED & ENTERED ON 6/6/22



                                  ORDER DISCHARGING TRUSTEE AND CLOSING THE CASE


         The Chapter 13 Trustee has filed a Final Report and Account and has certified that the estate has been fully administered.
         The Report has been properly notified granting parties in interest an opportunity to object, and no objections have been
         filed. Pursuant to Rule 5009 of the Federal Rules of Bankruptcy Procedure, it is presumed the estate has been fully
         administered.
         WHEREFORE, as provided in 11 U.S.C., Section 350(a), the trustee is discharged, his bond for this case cancelled, and
         the case is closed. The Clerk will notify this order.
         San Juan, Puerto Rico, this Monday, June 6, 2022 .




cc: JOSE RAMON CARRION MORALES , UST
